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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

 SPIRE GLOBAL, INC.,                            )
                                                )
                     Plaintiff,
                                                )
       v.                                       )   C.A. No. 25-CV-168-GBW
 KPLER HOLDING SA,                              )
                                                )
                     Defendant.                 )

       NOTICE OF INTENT TO SERVE SUBPOENA FOR PRODUCTION OF
     DOCUMENTS, INFORMATION, OR OBJECTS DIRECTED TO NON-PARTY

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upon the following non-party on or after March 17, 2025:

    1. L3Harris Technologies, Inc.

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Dated: March 17, 2025
